            Case 1:14-cv-01138-JEJ Document 62 Filed 08/13/18 Page 1 of 10



                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DANIEL B. STORM, HOLLY P.                       :
WHITE, DORIS MCMICHAEL, and                     :
KYLE WILKINSON, BARBARA HOLT,                   :
and LINDA REDDING individually and              :      Civil Action No.: 1:14-cv-01138-JEJ
on behalf of all others similarly situated,     :
                                                :
                     Plaintiffs,                :
                                                :
                      v.                        :
                                                :
PAYTIME, INC., a Pennsylvania                   :
corporation,                                    :
                                                :
                Defendant.                      :
____________________________________

                            PRELIMINARY APPROVAL ORDER

                                         August 13, 2018

       Having fully considered Plaintiffs’ Motion for Preliminary Approval of Class Action

Settlement (the “Motion”), the parties’ arguments and submissions concerning the Motion, and

the applicable facts and law, the Court hereby finds and orders as follows:

       1.       Except as otherwise provided below, all capitalized terms used in this Preliminary

Approval Order shall have the meanings and/or definitions given them in the Class Action

Settlement Agreement (“Agreement”), attached to the Motion as Exhibit 1 to the Declaration of

Gary Lynch.

       2.       The Court preliminarily approves the Agreement subject to the Final Approval

Hearing, the purpose of which will be to decide whether to grant final approval to the Settlement

Agreement reached by the Parties (the “Settlement”). The Court finds that the Agreement, the

Settlement set forth therein and all exhibits attached thereto and/or to Plaintiff’s Motion for

Preliminary Approval of Class Action Settlement are fair, reasonable, and adequate, entered into
            Case 1:14-cv-01138-JEJ Document 62 Filed 08/13/18 Page 2 of 10



in good faith, free of collusion to the detriment of the Settlement Class and within the range of

possible judicial approval to warrant sending notice of the Action and the proposed Settlement to

the Settlement Class and to hold a full hearing on the proposed Settlement.

       3.       For settlement purposes only, conditioned upon final certification of the proposed

class and upon Final Judgment, the Court finds that the Litigation may be maintained on behalf

of the following class:

                all individuals whose information was accessed without
                authorization by an unknown individual on or around April 7,
                2014, which was discovered by Paytime on or around April 30,
                2014.

       4.       The Court recognizes that Defendant Paytime Harrisburg, Inc. d/b/a Paytime, Inc.

(“Defendant”) reserves all of its defenses and objections against and rights to oppose any request

for class certification in the event that the proposed Settlement does not become Final for any

reason. Defendant also reserves all of its defenses to the merits of the claims asserted in the

event the Settlement does not become Final for any reason.

       5.       For settlement purposes only, the Court preliminarily appoints Plaintiffs as

representative of the Settlement Class.

       6.       For settlement purposes only, the Court preliminarily appoints the following

attorney to act as Class Counsel for the Settlement Class:

       Gary F. Lynch
       Carlson Lynch Sweet Kilpela & Carpenter, LLP
       1133 Penn Ave., 5th Floor
       Pittsburgh, PA 15222
       Telephone: (412) 322-9243
       Facsimile: (412) 231-0246

       Katrina Carroll
       kcarroll@litedepalma.com
       Lite DePalma Greenberg, LLC
       Chicago Office


                                                -2-
              Case 1:14-cv-01138-JEJ Document 62 Filed 08/13/18 Page 3 of 10



         111 West Wacker Drive
         Suite 1240
         Chicago, IL 60602
         312.750.1265

         7.       The Court appoints KCC Class Action Services, LLC as the Settlement

Administrator. The Settlement Administrator will be an agent of the Court and will be subject to

the Court’s supervision and direction as circumstances may require.

         8.       Notice shall be provided to the Settlement Class by October 5, 2018. Notice shall

be in a form substantially the same as the Notice Plan provided in the Agreement, including any

modification thereto.

         9.       The Court finds that the Notice and Notice Plan meet the requirements of Rule 23

of the Federal Rules of Civil Procedure and due process, constitute the best notice practicable

under the circumstances, and constitute due and sufficient notice to all potential members of the

Settlement Class. The Notice is reasonably calculated, under the circumstance, to apprise the

Settlement Class: (a) of the pendency of the Litigation; (b) of their right to exclude themselves

from the Settlement Class and the proposed Settlement; (c) that any judgment, whether favorable

or not, will bind all members of the Settlement Class who do not request exclusion; and (d) that

any member of the Settlement Class who does not request exclusion may object to the

Settlement, the request for attorneys’ fees and costs and/or the service award and, if he or she

desires, enter an appearance personally or through counsel. The Court further finds that the

notices are written in plain English and are readily understandable by members of the Settlement

Class.

         10.      Any member of the Settlement Class who wishes to opt out or exclude himself or

herself from the Settlement Class must submit an appropriate, timely request for exclusion sent

to the Settlement Administrator at the address on the Notice and to be postmarked no later than


                                                 -3-
         Case 1:14-cv-01138-JEJ Document 62 Filed 08/13/18 Page 4 of 10



November 19, 2018 (the “Exclusion/Objection Deadline”). The opt-out request must (a) identify

the member of the Settlement Class by name, address, and phone number and (b) state that he or

she wishes to be excluded from the Settlement Class. A timely and valid request to opt out of the

Settlement Class shall preclude the person opting out from participating in the proposed

Settlement and he or she will be unaffected by the Agreement. The Settlement Administrator

shall compile a list of all members of the Settlement Class who properly and timely submit an

opt-out request (the “Exclusion List”).

       11.     Any member of the Settlement Class who does not submit a timely and valid

written request for exclusion shall be bound by all subsequent proceedings, orders and judgments

in this Litigation, regardless of whether he or she currently is, or subsequently becomes, a

plaintiff in any other lawsuit, arbitration or other proceeding against any of the Released Parties

asserting any of the Released Claims.

       12.     Any Settlement Class Member who does not properly and timely submit an opt-

out request and who wishes to object to the fairness, reasonableness or adequacy of the

Agreement or the proposed Settlement or who wishes to object to the award of attorneys’ fees

and expenses or Plaintiff’s service award must file with the Court and serve on Class Counsel

and Defendant’s Counsel, postmarked no later than the Exclusion/Objection Deadline, a written

statement of the objection signed by the Settlement Class Member containing all of the following

information:

               (a)    A caption or title that identifies it as “Objection to Class Settlement in

Storm et al. v. Paytime, Inc. (Case No. 14-cv-01138);”

               (b)    The objector’s full name, address, email address, telephone number, and

his or her counsel’s name, address, email address, and telephone number;



                                                -4-
         Case 1:14-cv-01138-JEJ Document 62 Filed 08/13/18 Page 5 of 10



               (c)    A written statement detailing each objection, the facts supporting them,

the legal basis on which they are based, and the relief requested; and

               (d)    A written statement detailing whether he or she intends to appear at the

Final Approval Hearing, either with or without counsel.

       13.     Any objections must be appropriately filed with the Court no later than the

Exclusion/Objection Deadline, or alternatively they must be mailed to the Court at the address

below and postmarked no later than the Exclusion/Objection Deadline.

       Clerk of Court
       United States District Court for the Middle District of Pennsylvania
       Middle District of Pennsylvania
       228 Walnut Street,
        P.O. Box 983
       Harrisburg, PA 17101
       Attention: “Daniel Storm el al. v. Paytime, Inc., Case No. 14-cv-01138”

       A copy of the objection, postmarked no later than the Exclusion/Objection Deadline,

must also be mailed to the Settlement Administrator at its post office box.

       14.     No person shall be heard and no paper or brief submitted by any objector shall be

received or considered by the Court unless such person has filed with the Clerk of Court and

timely mailed to the Settlement Administrator, as provided above, the concise written statement

of objections as described above, together with copies of any supporting materials, papers or

briefs. Any Settlement Class Member who does not file a written objection in the time and

manner described above shall be: (a) deemed to have waived and forfeited any objections to the

proposed Settlement; (b) foreclosed from raising any objection to the proposed Settlement at the

Final Approval Hearing; (c) bound by all of the terms of the Agreement and by all proceedings,

orders and judgments by the Court; and (d) foreclosed from seeking any adjudication or review

of the Settlement by appeal or otherwise.



                                                -5-
         Case 1:14-cv-01138-JEJ Document 62 Filed 08/13/18 Page 6 of 10



       15.     Any objecting Settlement Class Member who intends to appear at the Final

Approval Hearing, either with or without counsel, must also file a notice of intention to appear

with the Court postmarked no later than the Exclusion/Objection Deadline, which notice shall be

filed with, or mailed to, the Clerk of the Court, with copy to the Settlement Administrator, as

provided for in Paragraph 13 above.

               (a)    If the objecting Settlement Class Member intends to appear at the Final

Approval Hearing through counsel, he or she must also identify any attorney representing the

objector who will appear at the Final Approval Hearing and include the attorney(s) name,

address, phone number, e-mail address, state bar(s) to which counsel is admitted and a list

identifying all objections such counsel has filed to class action settlements from January 1, 2013

to the present, the results of each objection, including any Court opinions ruling on the

objections, and any sanctions by a Court in connection with filing an objection. Any attorney

hired by a Settlement Class Member for the purpose of objecting to the Agreement or to the

proposed Settlement or to the attorneys’ fees and expenses will be at the Settlement Class

Member’s own expense; and

               (b)    If the objecting Settlement Class Member intends to request the Court

allow the Class Member to call witnesses at the Final Approval Hearing, the objecting Class

Member must provide a list of any such witnesses together with a brief summary of each

witness’s expected testimony no later than the Exclusion/Objection Deadline. If a witness is not

identified in the notice of appearance, such witness shall not be permitted to object or appear at

the Final Approval Hearing.

       16.     If any objection is deemed frivolous, the Court may award appropriate costs and

fees to Class Counsel and/or Defendant’s Counsel.



                                               -6-
         Case 1:14-cv-01138-JEJ Document 62 Filed 08/13/18 Page 7 of 10



       17.     No payments shall be made from the Settlement Fund for the purpose of

withdrawing a person’s objection to the Settlement without prior Court approval.

       18.     Any Settlement Class Member who wishes to receive benefits under the

Agreement must not exclude himself or herself from the Settlement.

       19.     The Settlement Administrator will establish a post office box to be used for

receiving requests for exclusion or objections and any other communications relating to this

Settlement.

       20.     The Court preliminarily enjoins all members of the Settlement Class unless and

until they have timely excluded themselves from the Settlement Class from (a) filing,

commencing, prosecuting, intervening in or participating as plaintiff, claimant or class member

in any other lawsuit or administrative, regulatory, arbitration or other proceeding in any

jurisdiction based on, relating to or arising out of the claims and causes of action or the facts and

circumstances giving rise to the Litigation and/or the Released Claims; (b) filing, commencing or

prosecuting a lawsuit or administrative, regulatory, arbitration or other proceeding as a class

action on behalf of any members of the Settlement Class who have not timely excluded

themselves (including by seeking to amend a pending complaint to include class allegations or

seeking class certification in a pending action), based on, relating to or arising out of the claims

and causes of action or the facts and circumstances giving rise to the Litigation or the Released

Claims; and (c) attempting to effect opt outs of a class of individuals in any lawsuit or

administrative, regulatory, arbitration or other proceeding based on, relating to or arising out of

the claims and causes of action or the facts and circumstances giving rise to the Litigation or the

Released Claims. This Agreement is not intended to prevent Settlement Class Members from

participating in any action or investigation initiated by a state or federal agency.



                                                 -7-
           Case 1:14-cv-01138-JEJ Document 62 Filed 08/13/18 Page 8 of 10



          21.   A hearing to determine (a) whether the Settlement Class should be finally

certified pursuant to Rule 23 of the Federal Rules of Civil Procedure and (b) whether the

proposed Settlement is fair, reasonable and adequate (the “Final Approval Hearing”) shall be

conducted in the United States Courthouse, United States District Court for the Middle District

of Pennsylvania, Ronald Reagan Federal Bldg. & U.S. Courthouse, 228 Walnut Street,

Harrisburg, PA 17101, Courtroom 2, commencing on December 17, 2018 at 9:30 a.m.

          22.   The Court may reschedule the Final Approval Hearing without further written

notice. If the Final Approval Hearing is rescheduled from the currently scheduled date,

information regarding a rescheduled Final Approval Hearing will be posted on the Court’s

docket.

          23.   Papers in support of the final approval of the Settlement shall be filed with the

Court no later than seven (7) days before the Final Approval Hearing, and shall include: (a)

responses to objections; (b) a declaration from the Settlement Administrator attesting to

completion of Notice and the number and identity of Settlement Class Members who filed

requests to be excluded from the Settlement and objections to the Settlement.

          24.   An application of Class Counsel for an award of fees and expenses shall be filed

with the Court by or before November 8, 2018.

          25.   All discovery and other pre-trial proceedings in this Litigation are stayed and

suspended pending the Final Approval Hearing, except such actions as may be necessary to

implement the Agreement and this Order.

          26.   Defendant shall file proof of compliance with the notice requirements of The

Class Action Fairness Act of 2005 (“CAFA”), 28 U.S.C. §1715(b), no later than seven (7) days

before the Final Approval Hearing. The Court finds that Defendant may satisfy the notice



                                               -8-
         Case 1:14-cv-01138-JEJ Document 62 Filed 08/13/18 Page 9 of 10



requirements of CAFA by delivering an appropriate notice of this Settlement to the United States

Attorney General and the Attorneys General of the 50 states.

       27.     This Order shall become null and void, and shall be without prejudice to the rights

of the Parties, all of whom shall be restored to their respective positions existing immediately

before this Court entered this Order, if: (a) the proposed Settlement is not finally approved by the

Court, or does not become Final, pursuant to the terms of the Agreement; or (b) the proposed

Settlement is terminated in accordance with the Agreement or does not become effective as

required by the terms of the Agreement for any other reason. In any such event, the proposed

Settlement and Agreement shall become null and void and be of no further force and effect, and

neither the Agreement nor the Court’s orders, including this Order, shall be used or referred to

for any purpose whatsoever.

       28.     Neither the Agreement, nor any of its terms or provisions, nor any of its exhibits,

nor any of the negotiations or proceedings connected with it, nor this Order shall be construed as

an admission or concession by any Defendant of the truth of any of the allegations in the

Litigation, or of any liability, fault, or wrongdoing of any kind, or of the appropriateness of the

certification of the Settlement Class for purposes other than for settlement. This Order shall not

be construed or used as an admission, concession or declaration by or against any of the

Released Parties of any fault, wrongdoing, breach, or liability.

       29.     The terms and provisions of the Agreement may be amended by agreement of the

Parties in writing and approval of the Court without further notice to the Settlement Class, if

such changes are consistent with this Order and do not limit the rights of the Settlement Class.




                                                -9-
      Case 1:14-cv-01138-JEJ Document 62 Filed 08/13/18 Page 10 of 10



IT IS SO ORDERED:



                                          s/ John E. Jones III
                                          The Honorable John E. Jones III,
                                          United States District Court Judge, Middle
                                          District of Pennsylvania




                                   -10-
